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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO

In re:                                          )
                                                )
11380 SMITH RD LLC                              )       Case No. 18-10965-TBM
Tax ID / EIN: XX-XXXXXXX                        )
                                                )       Chapter 11
                                                )
                                                )
         Debtor.


             UNITED STATES TRUSTEE’S ENTRY OF APPEARANCE AND
                           REQUEST FOR NOTICES


         The United States Trustee (“UST”), by and through undersigned counsel, files this entry
of appearance and request for notices. Pursuant to Fed. R. Bankr. P. 9034(k), the UST requests
that all pleadings and notices filed in this case be served on the UST at the address set forth
below.


Dated: February 14, 2018                            Respectfully submitted,
                                                    PATRICK S. LAYNG
                                                    UNITED STATES TRUSTEE

                                                    /s/ Daniel J. Morse
                                                    By: Daniel J. Morse, WY Bar # 7-4770
                                                    Assistant U.S. Trustee, District of Wyoming
                                                    U.S. Department of Justice
                                                    308 West 21st Street, Room 203
                                                    Cheyenne, WY 82001
                                                    Direct Line: 307-772-2793
                                                    Email: Daniel.J.Morse@USDOJ.GOV
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                             CERTIFICATE OF SERVICE

       I hereby certify that on the date set forth below a copy of the UNITED STATES
TRUSTEE’S ENTRY OF APPEARANCE AND REQUEST FOR NOTICES was served by
deposit in the United States Mail, postage prepaid, to the following parties:

Dated: February 14, 2018

11380 Smith Rd, LLC
11380 Smith Road
Aurora, CO 80010

Jeffrey Weinman
730 17th Street
Ste. 240
Denver, CO 80202

                                            /s/ Sherri Barnett
                                            Office of the United States Trustee
